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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 RYAN WODARSKI,                      )
                                     )
                  Plaintiff,         )
                                     ) Case No. 1:20-cv-01299-CFC
       v.                            )
                                     )
 AIMMUNE THERAPEUTICS, INC., JAYSON )
 D.A. DALLAS, MARK T. IWICKI, GREG   )
 BEHAR, BRETT K. HAUMANN, MARK D.    )
 MCDADE, STACEY D. SELTZER, PATRICK )
 G. ENRIGHT, KATHRYN E. FALBERG, SPN )
 MERGERSUB, INC., and SOCIÉTÉS DES   )
 PRODUITS NESTLÉ S.A.,               )
                                     )
                  Defendants.        )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action.

 Dated: November 13, 2020                           RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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